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November 3, 2010

Sent via U.S. First Class Mail and
Certified Mail, Return Receipt Requested
Ajit Bhogaita

312 Cherokee Court, Unit C

Altamonte Springs, FL 32701

RE: Altamonte Heights Condominium Association, Inc. v. Ajit Bhogaita

Dear Mr. Bhogaita:

Please be advised that this firm has the pleasure of representing Altamonte Heights
Condominium Association, Inc., (“Association”). As you are aware, the governing documents
for the Association prohibit dogs over 25lbs from residing in your unit. I have reviewed your
correspondence which was received by the Association on August !7, 2010 and the two letters
from Dr, Li that you have provided. However, these letters merely contain conclusory
assertions without any explanation or citation of facts in support of your request for an
accommodation. Please submit the following additional information to the Association so that

your request can be further evaluated:

A sworn statement from Dr. Li that contains specific facts that (a) detail the exact nature
of your alleged mental disability, (b) the treatment that you are receiving (a list of all
medications, the number of counseling sessions per week, etc.), (c) how the diagnosis was made
and after how many sessions this diagnosis was made, (d) the total number of hours and sessions
of mental health treatment that you have received from the psychiatrist, (e) how long you have
been a patient of the psychiatrist and how long you have been treated for the alleged menta!
disability, (f} whether this condition is permanent or temporary, (g) what treatment has been
prescribed for you! moving forward, (h) how the alleged mental disability substantially limits
your major life activities, (i) and why you need a dog that is over 25lbs (i.e., why a smaller dog
will not suffice) to have an equal opportunity to enjoy your unit.

Additionally, you need to provide the Association with documentation that demonstrates
the individualized training that your dog has received for the purpose of helping you with your
alleged mental disability. Please include (a) the dates that the training occurred on, (b) the
contact information of the business that provided the training, (c) the date that the training was
completed on and (d) copies of any certifications received or other documentation that the dog
has completed the training program.

This information must be received by the Association no later than December 6, 2010.
If this informatioh is not received by the Association, then this letter shall serve as the

Association’s formal demand for you to remove any dogs over 25 lbs from your unit no later
than December 10, 2010.

If you fail to provide the requested documentation and have not
removed any dogs over 25lbs from your unit by December 10, 2010 then the Association will be

forced to file for Arbitration with the Department of Business and Professional Regulation,
Division of Florida Condominiums, Timeshares, and Mobile Homes.

PLEASE GOVERN YOURSELF ACCORDINGLY.

__ Very Truly Yourd,

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Patrick H. Willis

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